              Case 2:09-cr-00222-TLN Document 311 Filed 07/29/14 Page 1 of 2


1    MICHAEL B. BIGELOW
     Attorney at Law
2    State Bar No. 65211
     331 J Street, Suite 200
3    Sacramento, CA 95814
     Telephone: (916) 443-0217
4    Email: LawOffice.mbigelow@gmail.com
5    Attorney for Defendant
     Minh Tham
6
                         IN THE UNITED STATES DISTRICT COURT
7                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,                   )   2:09-CR-0222 TLN
                                                 )
10                Plaintiff,                     )    STIPULATION AND ORDER
                                                 )    ORDER CONTINUING
11
                         v                       )    SENTENCING
12
     MINH THAM,                                  )
                                                 )    DATE: October 2, 2014
13                Defendant.                     )    Time: 9:30 AM
                                                 )    Court: TLN
14

15                It is hereby stipulated between the parties that

16   Sentencing in this matter shall be continued to October 2, 2014
17   at 9:30 AM.
18
             This extension of time is necessitated by the parties
19
     conflicting schedules, and the desire to accommodate all of
20
     them.
21

22
             Dated: July 29, 2014                Respectfully submitted,
23
                                                 /s/MICHAEL B. BIGELOW
24                                               Michael B. Bigelow
                                                 Attorney for Defendant
25




                                           -1-
              Case 2:09-cr-00222-TLN Document 311 Filed 07/29/14 Page 2 of 2


1

2                                IT IS SO STIPULATED
3

4
     DATED: July 29, 2014                 /s/MICHAEL B. BIGELOW
                                          Michael B. Bigelow
5                                         Attorney for Defendant Tham

6
     DATED: July 29, 2014                 /s/HEIKO COPPOLA
7                                         Heiko Coppola
                                          Assistant United States Attorney
8

9

10
                                          ORDER
11

12
          IT IS ORDERED: that pursuant to stipulation the above

13   sentencing in the above referenced matter shall be continued

14   until October 2, 2014 at 9:30 AM.

15

16
     DATED:     July 29, 2014
17
                                                   Troy L. Nunley
18                                                 United States District Judge

19

20

21

22

23

24

25




                                           -2-
